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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE SUBPOENA ISSUED IN:                        Misc No. 1:21-mc-00194

 MWK Recruiting, Inc. v. Jowers, et al.
 pending in the U.S. District Court for the
 Western District of Texas,
 Case No. 1:18-cv-00444-RP

 BREAKING MEDIA, INC.                             NOTICE OF APPERANCE
 dba ABOVE THE LAW,

                                   Petitioner,

                  -against-

 EVAN P. JOWERS,

                                 Respondent.


       PLEASE TAKE NOTICE, that the below named attorney appears for Breaking Media,

Inc., d/b/a/ Above The Law (“Petitioner”), and hereby requests that a copy of all pleadings,

notices and other papers in this proceeding be served upon counsel. In so appearing, Petitioner

reserves, and does not waive, any and all defenses and objections.


Dated: New York, New York                     MILLER KORZENIK SOMMERS RAYMAN LLP
       February 18, 2021
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